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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       :
                                                :
                v.                              :     Criminal No. 21-cr-399 (RDM)
                                                :
ROMAN STERLINGOV,                               :
                                                :
                        Defendant               :

                                               ORDER

        Upon consideration of the Government’s Motion in Limine for Preliminary Jury

Instructions, To Exclude Under Rule 403, and Other Miscellaneous Relief, it is hereby

        ORDERED, that comments, arguments, or testimony relating to the hack of Mt. Gox or

alleged misconduct by former Mt. Gox executives shall be excluded pursuant to Fed. R. Evid. 403;

it is further

        ORDERED, that the Court’s ruling on impermissible defense arguments on September 15,

2023, applies equally to voir dire; it is further

        ORDERED, that the defense shall provide notice no later than February __, 2024 of

whether the defendant will request that the jury be retained to determine the forfeitability of

specific property if it returns a guilty verdict on Counts One, Two, or Three; it is further

        ORDERED, that the parties shall be prepared to identify any witnesses they intend to call

during the next day of trial.

Dated this ______ day of February, 2024.



                                        ______________________________________
                                        THE HONORABLE RANDOLPH D. MOSS
                                        UNITED STATES DISTRICT JUDGE
